Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 1 of 21




                EXHIBIT SS
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 2 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 1


1    Call Date:   2018-09-29

2    Call Duration:     13:40

3    Call Begin [      ] Call End [     ]

4    Call Participants:

5        Rick Singer

6        John Wilson

7    File Name:           8802 2018-09-29 15-24-23 09249-001

8    Bates No.:

9

10   [00:00:00]

11   WILSON:   Hey, Rick.       How ya doin’?

12   SINGER:   Hey, John.       How are ya?

13   WILSON:   Good.    You feelin’ better?

14   SINGER:   Lot better.

15   WILSON:   Oh, (overlapping dialogue; inaudible).

16   SINGER:   You good?    You been out of town?

17   WILSON:   Yeah, I’ve been out of town.       Been traveling.     I’m

18       goin’ to Europe next week, so it’ll be easier to connect

19       this week, so...

20   SINGER:   OK, cool.     So the girls --

21   WILSON:   So, yeah --

22   SINGER:   -- were great.

23   WILSON:   Cool.    I, I still didn’t get a c-- a f-- a full

24       debrief from ’em, but talked to Leslie (sp?).          They, um,
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 3 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 2


1        they have any clarity on, on where they want to go, what

2        majors, or still (overlapping dialogue; inaudible)?

3    SINGER:   Yeah.    Yeah, well, I mean, you have done a great job

4        of, uh -- (laughs) it’s so funny -- influencing ’em on

5        what is the appropriate path to go down.         What do you

6        think they both said?      (overlapping dialogue; inaudible)

7        --

8    WILSON:   What, all the Ivy League schools?

9    SINGER:   No, no, I mean --

10   WILSON:   (overlapping dialogue; inaudible).

11   SINGER:   -- uh, uh, uh, they want to be business and

12       engineering.     (laughter) I said, “So do...”       I said,

13       “Does that come from your dad?”        And, of course, “Well,

14       my dad -- they pr-- my dad’s programmed us,” right?

15       (laughter) [00:01:00] So I said, “That’s cool.          So we can

16       make all that happen.”      I said, “You think you might like

17       that?”    They said, “Well, my dad (inaudible), so...”

18   WILSON:   (laughter) Come on!      I thought they actually liked

19       science and engineering.       They (overlapping dialogue;

20       inaudible) --

21   SINGER:   No, I’m sure they --

22   WILSON:   -- science.

23   SINGER:   -- I -- but you’re -- you’ve influenced them, right?

24       (overlapping dialogue; inaudible) --
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 4 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 3


1    WILSON:   Yeah, I’ve influenced ’em, but I want ’em to pick

2        what they like.

3    SINGER:   No, definitely they get it, they get it, right?             And

4        it’s just --

5    WILSON:   OK.

6    SINGER:   -- it’s just funny, ’cause then when Leslie kinda

7        interjected they’re like, “Mom, stay out of it.           Mom,

8        stay out of it.”     Right?    It was funny.    Um, but they’re

9        both obviously great girls.       They want -- in a lot of

10       ways, they want to have kind of the same kinds of things

11       from the school.     We, um -- I have a huge list of schools

12       for them.     Um, you know, and, and I said, “You guys gotta

13       send me dates, because you both go to 2 separate schools,

14       and Lynnfield and then -- and Andover, different dates of

15       days off.     So Leslie’s gonna be runnin’ all over the

16       place tryin’ to figure out [00:02:00] how to get 1 over

17       here for a day, and over here.”

18   WILSON:   Yeah.

19   SINGER:   But, uh, that’s why I need to know your dates, so I

20       can figure out where to go visit that would be best

21       suited.

22   WILSON:   Right.    Now, would they go on weekends, or gotta go

23       during school days (overlapping dialogue; inaudible)?
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 5 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 4


1    SINGER:   You gotta go on a school day, or, or a day when it’s

2        a school day but they’re off of school.

3    WILSON:   Yeah, OK.

4    SINGER:   That’s the ideal situation, ’cause --

5    WILSON:   That’s gonna be tougher, yeah.        But the ideal isn’t

6        just seeing the campus on a weekend?

7    SINGER:   Yeah, ’cause I gotta get to a point where we know if

8        we’re applyin’ ED or where we’re goin’, what we want,

9        ’cause you’re gonna want to know first choice, second

10       choice, all that stuff.

11   WILSON:   Yeah, no, exactly.      And just so I’m, I’m clear on

12       the, the kinda pecking order schools, and UCLAs and all

13       that stuff versus -- uh, I think you said UCLAs mostly

14       are in the, the bracket of, um, like, uh, Stanford -- or

15       not Stanford, but like, uh, USC and so forth.          And what

16       were the schools in that, if you did the side door?           And

17       I’m interested about the side door and that stuff, um --

18   SINGER:   So the side door is gonna be -- gonna happen where

19       you want ’em to happen.       (overlapping dialogue;

20       inaudible) --

21   WILSON:   It can happen anywhere?      Does it have to be

22       [00:03:00] a sports side door?        I wasn’t clear on that.

23   SINGER:   Well, so that’s the -- that’s the easiest way to

24       approach it, right --
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 6 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 5


1    WILSON:   Yeah.

2    SINGER:   -- because all of the coaches have...         You know,

3        they have guaranteed spots, and you’ve done a good job,

4        you got athletic girls who got great size, they’re in the

5        right sports, so, you know, potentially there’s a sailing

6        option, and potentially there’s a crew option.          I mean, I

7        don’t know how good of athletes they are.          They may be

8        good enough to be able to compete at some of these

9        schools, and then who knows what we have to do, depending

10       on where, where the spots (inaudible).

11   WILSON:   Mm-hmm.    Yeah, so they --

12   SINGER:   So you have --

13   WILSON:   -- have to get that sports.       Uh, what if they’re not

14       really that good?      I mean, they can do some crew, but I

15       don’t know they’re gonna be good.                     (sp?) not

16       even that good competitively at sailing.         She just taught

17       sailing and did sailing in, you know, (overlapping

18       dialogue; inaudible) --

19   SINGER:   Right, so --

20   WILSON:   -- Yacht Club.

21   SINGER:   But at the end of the day, by the side door, I may

22       be able to go to the sailing coach and say, “Hey, this

23       family’s willing to make the contributions.          She could be

24       on your team.     She is a sailor.     She may not be up to the
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 7 of 21
           8802 2018-09-29 15-24-23 09249-001                           Page 6


1        level you are, but she can con-- you know, you’re gonna

2        get a benefit, [00:04:00] and the family’s gonna get

3        benefit.    So are you will-- are you interested in doing

4        that?”

5    WILSON:     Yeah.   OK.   And just -- but -- and what’s the other

6        side?    If it’s not a sport, what is it?       Is there any

7        other side doors in --

8    SINGER:     Then I have to go to -- then I have to go to

9        department chairs, and, and, and get...         Some schools

10       have a VIP list at the department chair level, so we

11       could go that route, and then you can help their

12       (inaudible) -- their, their program.         It just depends on

13       which school you want to go to.

14   WILSON:     OK, you know, I have this friend -- you know, one of

15       the things I wanted to talk to you about, too, is I -- I

16       don’t know how -- I remember last time I did this, you

17       didn’t really make any money on this, on the side, this

18       stuff.    You just charge, and then you make a donation to

19       the school, and that’s it?

20   SINGER:     Well, uh, so it depends in different ways.        So

21       what’s happened in the grown-up world of my world now,

22       compared to when, you know, we did                 was that

23       essentially now the money goes into my foundation, as a

24       donation, (overlapping dialogue; inaudible) --
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 8 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 7


1    WILSON:   Oh, to your foundation, not to the schools.

2    SINGER:   Yeah, then that way the kids don’t know it happens,

3        right?

4    WILSON:   Yeah.

5    SINGER:   So -- and then the other part [00:05:00] of that is

6        they don’t chase you all the time for money.          ’Cause once

7        you -- you know, once you’re -- they know you gave money,

8        that’s a different story.       And then what I can -- what

9        I’ll do is I’ll split the money potentially to the coach

10       or other pl-- parties that are out that school that need

11       the money, right?

12   WILSON:   Mm-hmm.

13   SINGER:   So...    Or it may go right to the coach, um, that’s

14       helping us.     It ju-- it just depends on the school.

15   WILSON:   Right.    OK, so you don’t actually get credit for a

16       donation to the school, or get hounded for that.           You

17       get, uh --

18   SINGER:   (overlapping dialogue; inaudible)

19   WILSON:   -- your donation to you, or your foundation, the Key

20       or whatever --

21   SINGER:   Right, and you get --

22   WILSON:   -- that, uh -- and --

23   SINGER:   -- your write-off, and then you do your thing.

24   WILSON:   OK.
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 9 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 8


1    SINGER:   And then the kids get in the school.

2    WILSON:   So my colleagues -- so, so you c-- you, you

3        (inaudible) I assume take a share of that or something.

4        If it’s all going to your foundation, you can’t take a

5        share if it goes to your foundation.         You don’t get a fee

6        on that, then?

7    SINGER:   Um, I just do my fee for what I take when I do your

8        normal applications.

9    WILSON:   Yeah, that’s, like, terrible.       I, I think, from a

10       business model point of view, again, I advised you last

11       time, (laughter) I still advise you, this is worth a lot

12       to people, and so, you know, to the extent you [00:06:00]

13       want to make more money, I would think you would have

14       some kind of fee for that.       (inaudible) it’s 350 to the

15       foundation, plus another 20% for me for using my leverage

16       and my relationships --

17   SINGER:   Yeah.

18   WILSON:   -- or something, no?

19   SINGER:   Well, I’m, I’m gonna use your business model going

20       forward.

21   WILSON:   I think you should.      I, I really would advise you...

22       But anyway, I -- so then I have this, uh, close friend of

23       mine here who works at, uh, McKinsey with me, and he’s

24       very well off.     He’s the head of, uh, one of these big
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 10 of 21
              8802 2018-09-29 15-24-23 09249-001                      Page 9


1         areas in McKinsey for a lot of years.        And his daughter’s

2         -- wants to go to Brown next year.        His concern -- I

3         said, “Well, have you thought about...?”         It may be too

4         late, 1.     I don’t know.   Um, she’s going through her

5         senior year right now.

6    SINGER:     Well, what’s the relationship that that person would

7         have...?     I mean, is that g-- is that person big enough

8         in McKinsey that people would know who that person is?

9    WILSON:     Uh, yeah, probably.

10   SINGER:     OK, so then here would be my suggestion, to be frank

11        with you --

12   WILSON:     OK.

13   SINGER:     -- and I’d love to help -- you know, it is late and

14        all of that.    The president takes meetings all the time

15        from influential people.      She’s a good gal.     And she--

16   WILSON:     Of Brown?   Yeah, I don’t know.

17   SINGER:     Yeah, at Brown.    So what I would suggest is that,

18        [00:07:00] um, he calls up her office -- they have a

19        scheduling person for the president -- and he sets up a

20        meeting for he and his daughter to go meet, and she kinda

21        meets with them, and then she’ll give an indication, and

22        he’ll get an idea of what it’s gonna need -- what’s gonna

23        need to be done to, to have her to go to Brown.          That’s -

24        -
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 11 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 10


1    WILSON:    (overlapping dialogue; inaudible) the front door --

2    SINGER:    -- that’s the path I would go.

3    WILSON:    -- like, like, $10,000,000 kind of thing?         Or that’d

4         be the (overlapping dialogue; inaudible) --

5    SINGER:    No, no, no, I think it’s a lot less than that.          I

6         think it’s a lot less than that.       But, um, but it’s first

7         getting the meeting with the president, and just talkin’

8         about -- and then also what he could do for the

9         university, not only financially but, you know, just in -

10        - he could be a, a guest lecturer.        He could do, you

11        know, lots of different things.

12   WILSON:    Uh-huh.

13   SINGER:    That would be my suggestion.       (overlapping dialogue;

14        inaudible) --

15   WILSON:    He wanted to do it -- so the, the other thing he had

16        a concern was he wanted to do it in a way his daughter

17        wouldn’t know.     His daughter’s already said, “Dad, don’t

18        help me with this, don’t help me with that.”         She’s very

19        kind of, uh --

20   SINGER:    Well, then that’s a different path, and then -- then

21        I may have to get involved in that.        Um --

22   WILSON:    Right, so that’s --

23   SINGER:    -- but, but it’s really --

24   WILSON:    -- the only thing he’s sensitive to.
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 12 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 11


1    SINGER:    -- it’s --

2    WILSON:    [00:08:00] His daughter’s, like, really independent

3         that way.

4    SINGER:    Right.

5    WILSON:    And she’s very smart.     She got a 35 or 31 below

6         perfect --

7    SINGER:    But, but --

8    WILSON:    -- on the ACTs --

9    SINGER:    -- I --

10   WILSON:    -- and all that, but...

11   SINGER:    No, I get it, but it -- what I would do is I would

12        still -- because him goin’ to meet the president isn’t --

13        doesn’t mean that she’s gonna help him, but that’s a good

14        starting point.

15   WILSON:    Mm-hmm.   Well, maybe I’ll just connect you 2 by an

16        email, and (inaudible) somethin’ like that?

17   SINGER:    So --

18   WILSON:    Does that make sense?

19   SINGER:    So I can make the -- I can call the office, and then

20        what they normally...      So I just had a family do that,

21        and essentially what they told me to do was just, um,

22        have, have my family call the scheduling coordinator for

23        a time --

24   WILSON:    Mm-hmm.
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 13 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 12


1    SINGER:      -- and, and -- with the background of the

2         candidates, and then they’ll, they’ll usually set up the

3         meeting.    Sounds like this person’s well -- high enough

4         up that it makes sense for (overlapping dialogue;

5         inaudible) --

6    WILSON:      Yeah, he’s one of the top, let’s say, 12 people.

7         He’s on the Executive Board and all that stuff like that,

8         so...

9    SINGER:      Yeah, yeah, so then that makes sense.

10   WILSON:      Now, he’s, um...   [00:09:00] Let’s see, what else?

11        Uh, that’s her f-- uh, what do you call it, early

12        decision school, I think, and all that stuff?

13   SINGER:      Yeah.

14   WILSON:      So she’s got all that --

15   SINGER:      Yeah.

16   WILSON:      -- stuff goin’ for her.    She really loves it, wants

17        to get there and all that stuff, and he’s willin’ to pay

18        a million, 2 million.      He didn’t care.    Um, so it’s that

19        -- it’s his last daughter, and he’s, you know, pretty

20        well off that way.     I don’t know what -- um, is Brown one

21        of those 350 or million...?

22   SINGER:      Oh, it’s in the millions.    Yeah, yeah, yeah.     No,

23        there’s no --

24   WILSON:      2 million (overlapping dialogue; inaudible)?
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 14 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 13


1    SINGER:    -- 350 (inaudible)...     Yeah, there’s no -- there’s

2         no (laughs) 350...     I’ll -- I would have a (overlapping

3         dialogue; inaudible) --

4    WILSON:    I thought that Stanford -- not Stanford -- I thought

5         that UCLA and USC and stuff like that was (overlapping

6         dialogue; inaudible) --

7    SINGER:    Yeah, that’s a different story.       They’re not Brown.

8    WILSON:    No, no, that’s what I meant.       The, the -- there’s

9         the 350 schools, or...      (laughter)

10   SINGER:    Yeah.   Yeah, exactly.

11   WILSON:    And everybody else jumps up to the million

12        (inaudible), yeah?

13   SINGER:    Yeah, you gotta ante way up.       Yeah, absolutely.

14   WILSON:    There’s not much, uh -- not much in between.         Uh,

15        because (inaudible), too, like, (inaudible) is just -- a,

16        a bunch of them are 350s, the second tier or whatever you

17        want to call ’em, and then everything else just jumped

18        immediately to --

19   SINGER:    That’s correct.

20   WILSON:    -- (inaudible) 1, 2.

21   SINGER:    W-- yeah.

22   WILSON:    There’s no, like, 500 or 700 (overlapping dialogue;

23        inaudible) --

24   SINGER:    No, no.
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 15 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 14


1    WILSON:    -- or...?

2    SINGER:    No.    No, because it makes no sense for them to get

3         involved at those schools unless they’re gonna really get

4         after.   But in [00:10:00] your case, with the girls, I

5         may be able to negotiate, knock it down so that, you

6         know, (inaudible) for 2 and figure it out.

7    WILSON:    L-let’s say, let’s say they both wanted to go to a

8         Harvard or a Stanford, right?       Obviously -- is it much

9         more difficult in Stanford versus Harvard, or Princeton?

10   SINGER:    No, same -- no, but it’s the same --

11   WILSON:    Are they all the same?

12   SINGER:    They’re all the same.

13   WILSON:    Yeah.    If you wanted to do 2 at Harvard or 2 at

14        Stanford...?    Now, I’m an alumni at Harvard.       I’ve given

15        some money, but not a lot.      I’ve given, you know, a few

16        hundred grand or (overlapping dialogue; inaudible).

17   SINGER:    Uh, well, uh, so we just need to strategize on how

18        we’re gonna -- where we’re gonna go, where we wanna go,

19        right?   ’Cause I don’t think the girls have any, any idea

20        right now.

21   WILSON:    Yeah, no, I don’t think...      They would love to go to

22        Stanford or Harvard.      (inaudible) --

23   SINGER:    Sure.
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 16 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 15


1    WILSON:    -- she loves the school there, and loves the thought

2         of it.   Uh,            loves Harvard, just from the thought

3         of it.   I know she’s said to her friends...        Uh, I just

4         listen to ’em talkin’ to their friends, you know?

5    SINGER:    Right.

6    WILSON:    “Where would you like to go?”       You hear that stuff.

7         It doesn’t have my influence...       It has my influence

8         indirectly, and, of course, they have these big, you know

9         -- oh, that’s a great school, just the, the brand name in

10        their minds, you know.

11   SINGER:    Well, and, again, most people don’t think they can

12        get into Stanford so they don’t even [00:11:00] bring up

13        that name.

14   WILSON:    Yeah, but they lived out there and they went --

15   SINGER:    I know.

16   WILSON:    -- swimming in the waterfalls.

17   SINGER:    Right.

18   WILSON:    They know that --

19   SINGER:    No, no, I totally get it.      (laughs) I totally get

20        it.   No, I get it.

21   WILSON:    (inaudible) lived there.

22   SINGER:    Yeah.
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 17 of 21
           8802 2018-09-29 15-24-23 09249-001                         Page 16


1    WILSON:    So those are the 2 that are on the top.           I-it’s,

2         it’s the strategy to try to get into those 2.           Um, is

3         Harvard easier ’cause I’m --

4    SINGER:    No, it’s not that.

5    WILSON:    -- legacy?

6    SINGER:    But --

7    WILSON:    That doesn’t mean shit?

8    SINGER:    Your legacy means 0, because...       (laughter)

9    WILSON:    (inaudible) my life, you know.

10   SINGER:    John, (overlapping dialogue; inaudible) --

11   WILSON:    Unless you’re donating a building, huh?

12   SINGER:    You’ve done quite well for yourself, so for a guy

13        that has no legacy, you’re OK.       (laughter)

14   WILSON:    Oh, shit.     So legacy doesn’t help at all, huh?

15   SINGER:    Unless you’re a big legacy, but you --

16   WILSON:    Especially a big donor legacy, huh?         OK.

17   SINGER:    -- you haven’t -- you haven’t done that yet.

18   WILSON:    OK, I see.      That’s interesting.   So that doesn’t

19        matter.     Um --

20   SINGER:    Like, what’s your -- like, how much do you give to

21        Harvard?

22   WILSON:    Nothing.      Like, a couple hundred grand over the

23        years, so...

24   SINGER:    OK.   (laughter)
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 18 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 17


1    WILSON:     So they have too much money.      It pisses me off every

2         time they ask for money.      I say, sure, I’ll give you 10

3         grand, you know.     Stop botherin’ me.

4    SINGER:     No, I get it.   I get it.

5    WILSON:     [00:12:00] The fuckin’ endowment’s $30,000,000,000.

6         Like, are you shitting me?       (laughter)

7    SINGER:     I know.   I know, I know, I know.      I know, I get it.

8         I get it.

9    WILSON:     (inaudible) give to, you know, other charities.            But

10        anyway, that’s a -- that’s a whole different story.           But

11        i-is it --

12   SINGER:     So --

13   WILSON:     -- a better strategy to try and split ’em across the

14        2 --

15   SINGER:     Oh, yeah, I got (inaudible) strategies --

16   WILSON:     -- try to get ’em to go to 1.

17   SINGER:     -- I’m gonna...    No, I’m gonna use athletics to help

18        you, because that’s the easiest way.

19   WILSON:     ’Cause they’re pretty tall and strong, and I think

20        they could actually...      I mean, when I saw

21        rowing --

22   SINGER:     No, they’re good athletes.

23   WILSON:     When I saw         (sp?) --

24   SINGER:     Yeah.
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 19 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 18


1    WILSON:    -- row on fuckin’ that crew machine, I thought she

2         was gonna break the machine, she was goin’ so hard.

3    SINGER:    No, she -- no, th-they en-- they, they may end up

4         gettin’ in without even a donation, but, but you --

5         you’ll know at least this route, we got an --

6    WILSON:    They gotta get (overlapping dialogue; inaudible) --

7    SINGER:    -- we got the side door route, too.

8    WILSON:    -- though, right?

9    SINGER:    Yeah, yeah.

10   WILSON:    But they’re not really playing crew much.         They’re

11        not doing crew, running crew.

12   SINGER:    Right.

13   WILSON:    So you gotta (overlapping dialogue; inaudible).

14   SINGER:    So we’ll, we’ll, we’ll figure it out.        So --

15   WILSON:    But what would it be, if they wanted to go to one...

16        Uh, is that -- it’s gonna be 2 and a half (overlapping

17        dialogue; inaudible) --

18   SINGER:    It’s gonna be 1 -- it -- normally it’s 1, 2 each,

19        right?   So I would have to make a deal if you wanted ’em

20        both at the same school, and if they could even take ’em

21        at the same school, and it would cost you -- it’d cost

22        you a couple million dollars.       Big guy like you,

23        [00:13:00] (laughs) that’s easy.
      Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 20 of 21
           8802 2018-09-29 15-24-23 09249-001                        Page 19


1    WILSON:     Yeah.   Not so easy on liquidity, but yeah,

2         (laughter) (inaudible).      You got the installment plan?

3         (inaudible).

4    SINGER:     (inaudible).    Listen, I gotta go to an a-- another

5         appointment.     I just wanted to make sure I got back to

6         you.    I’m gonna be spending some time in Boston, because

7         I’m gonna be reading in Harvard this year, so I’ll be

8         able to get together with you.

9    WILSON:     Oh, I’d love that.    That’d be great.     And I’m gonna

10        connect you -- I’ll just (inaudible) -- I’ll send an

11        email to you, and the guy’s name is                    , and --

12   SINGER:     OK.

13   WILSON:     -- he could become a client and do whatever, and

14        I’ll let the 2 of you kinda email back and forth and

15        stuff.   He’d love to do something not known to his

16        daughter at Brown.

17   SINGER:     Got it.

18   WILSON:     (laughs) And he’s got money.

19   SINGER:     I gotcha.    I gotcha.

20   WILSON:     OK.

21   SINGER:     All right.   Take care.

22   WILSON:     All right, take care.     Bye.

23   SINGER:     OK, bye-bye.

24   [00:13:40]
    Case 1:19-cr-10080-NMG Document 972-45 Filed 03/25/20 Page 21 of 21
         8802 2018-09-29 15-24-23 09249-001                        Page 20


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2                            END OF AUDIO FILE
